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        ORAL ARGUMENT HAS NOT BEEN SCHEDULED

             In the United States Court of Appeals
              for the District of Columbia Circuit
                              No. 24-1164
                              __________

               INDEPENDENT MARKET MONITOR FOR PJM,
                            Petitioner,
                                  v.
              FEDERAL ENERGY REGULATORY COMMISSION,
                           Respondent.
                           __________

             ON PETITION FOR REVIEW OF AN ORDER OF THE
              FEDERAL ENERGY REGULATORY COMMISSION
                             __________

                BRIEF OF RESPONDENT
       FEDERAL ENERGY REGULATORY COMMISSION
                      __________

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                                         Washington, D.C. 20426
FINAL BRIEF: APRIL 25, 2025
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              CIRCUIT RULE 28(A)(1) CERTIFICATE

     A.    Parties

     Dominion Energy Services, Inc. moved to intervene in this case on

June 27, 2024 (ECF No. 2062096). On August 14, 2024, the Court

granted Dominion’s motion along with all other pending motions to

intervene in support of Respondent Federal Energy Regulatory

Commission. See ECF No. 2069791. Otherwise, the parties before this

Court are identified in Petitioner’s Circuit Rule 28(a)(1) certificate.

     B.    Rulings Under Review

     1. Pub. Serv. Comm’n of West Virginia v. PJM Interconnection,
L.L.C., Order Denying Complaints, 186 FERC ¶ 61,163 (Mar. 1, 2024)
(Complaint Order), R. 90, JA71-117; and,

     2. Pub. Serv. Comm’n of West Virginia v. PJM Interconnection,
L.L.C., Notice of Denial of Rehearing by Operation of Law, 187 FERC
¶ 62,070 (Apr. 29, 2024), R. 92, JA125.

     C.    Related Cases

     This case has not previously been before this Court or any other

court. Counsel is not aware of any related cases within the meaning of

D.C. Circuit Rule 28(a)(1)(C).

                                          /s/ Jason T. Perkins
                                          Jason T. Perkins
                                          Attorney
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                                GLOSSARY

 Br.                        Opening brief of Petitioner Independent Market
                            Monitor for PJM

 Commission or FERC         Federal Energy Regulatory Commission

 Complaint Order            Pub. Serv. Comm’n of West Va. v. PJM
                            Interconnection, L.L.C., Order Denying
                            Complaints, 186 FERC ¶ 61,163 (Mar. 1, 2024),
                            R. 90, JA71-117

 Liaison Committee          An avenue for communication between PJM
                            Members, through their elected sector
                            representatives, and the PJM Board

 Market Monitor             Petitioner Monitoring Analytics, LLC, also
                            known as the Independent Market Monitor for
                            PJM

 PJM                        Intervenor for Respondent PJM Interconnection,
                            L.L.C.

 PJM Board                  The Board of Managers of PJM

 PJM Tariff or Tariff       The Commission-jurisdictional PJM Open
                            Access Transmission Tariff, specifically
                            Attachment M thereto

 Services Agreement         The services contract between PJM and its
                            Market Monitor, filed with the Commission as
                            PJM Rate Schedule No. 46, Market Monitoring
                            Services Agreement




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             In the United States Court of Appeals
              for the District of Columbia Circuit
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               INDEPENDENT MARKET MONITOR FOR PJM,
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                                   v.
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                 BRIEF OF RESPONDENT
        FEDERAL ENERGY REGULATORY COMMISSION
                       __________

         INTRODUCTION AND STATEMENT OF ISSUES

      This case arises out of an intramural dispute about access to

meetings held at PJM Interconnection, L.L.C. (PJM), a regional electric

grid and market operator regulated by Respondent Federal Energy

Regulatory Commission (FERC or Commission).

      In 2023, the Independent Market Monitor for PJM (Market

Monitor) complained to FERC that the organization it works for—

Intervenor for Respondent PJM—refused to allow the Market Monitor


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to attend a certain set of PJM meetings known as the Liaison

Committee. While PJM’s FERC-approved tariff allows the Market

Monitor to attend “stakeholder processes,” PJM argued that meetings of

the Liaison Committee are not part of the stakeholder processes

referred to in that tariff provision. PJM noted that the Liaison

Committee has no authority to vote on or decide any PJM-related

matters. In the order on review, FERC agreed with PJM and denied

the administrative complaint. Pub. Serv. Comm’n of West Va. v. PJM

Interconnection, L.L.C., Order Denying Complaints, 186 FERC

¶ 61,163, at PP 48-50, 85-86 (Mar. 1, 2024) (Complaint Order), R. 90,

JA92-93, 105-107.

      On review, the Market Monitor contends that PJM has not abided

by the cited tariff provision, and that the Commission misapplied the

tariff in denying its complaint. But since the Market Monitor has

ample access to information and meetings at PJM aside from the

Liaison Committee, the Commission moved to dismiss this appeal for

lack of a cognizable injury supporting Article III standing. This Court

referred that motion to the merits panel, and the Commission renews

its arguments here. But, should the Court reach the merits, the



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Complaint Order explained why the Market Monitor failed to carry its

statutory burden as the complainant here. The Market Monitor did not

allege any facts or offer any evidence indicating that the Liaison

Committee makes decisions such that it properly should be considered

part of PJM’s stakeholder process under the tariff.

The issues presented for review are:

      1. Whether the petition for review should be dismissed for lack of

Article III standing, given that the Market Monitor already has ample

access to the PJM Board, and that its exclusion from the meetings of

one committee (the Liaison Committee) does not meaningfully impair

the Market Monitor’s ability to make and communicate informed

judgments about market operations.

      2. Assuming appellate jurisdiction, whether the Commission

reasonably denied the Market Monitor’s complaint after interpreting

the cited tariff provision and finding that it does not apply to the

Liaison Committee’s meetings.

           COUNTERSTATEMENT ON JURISDICTION

      To obtain judicial review of Commission orders, a petitioner must

satisfy the requirements of both Article III of the United States



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Constitution and section 313(b) of the Federal Power Act, 16 U.S.C.

§ 825l(b). See N.Y. Reg’l Interconnect, Inc. v. FERC, 634 F.3d 581, 586-

87 (D.C. Cir. 2011); see also Old Dominion Elec. Coop. v. FERC, 892

F.3d 1223, 1232-34 (D.C. Cir. 2018) (denying intervenor status to

Market Monitor because it had “no legally cognizable interest” at

stake). As noted, the Commission moved to dismiss this appeal on July

8, 2024. See Motion to Dismiss, ECF No. 2063310, referred to merits

panel by Order, Sept. 4, 2024 (ECF No. 2073040). As discussed in

Argument section I, the petition for review here should be dismissed for

lack of standing under Article III.

              STATUTORY AND REGULATORY PROVISIONS

         The pertinent provisions are contained in the Addendum to this

brief.

                         STATEMENT OF FACTS

I.       STATUTORY AND REGULATORY BACKGROUND

         A.    Federal Power Act

         Section 201 of the Federal Power Act, 16 U.S.C. § 824, gives the

Commission exclusive jurisdiction over the rates, terms, and conditions

of service for the transmission and sale at wholesale of electric energy

in interstate commerce. See FERC v. Elec. Power Supply Ass’n,


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577 U.S. 260, 264-66 (2016). To facilitate transparency and

Commission oversight, each regulated utility must “file with the

Commission” its rates in a publicly available document called a tariff.

16 U.S.C. § 824d(c). Utilities must abide by those tariffs and may not

deviate from their terms and conditions of service without Commission

approval. See W. Deptford Energy, LLC v. FERC, 766 F.3d 10, 12-13

(D.C. Cir. 2014).

      Sections 206 and 306 of the Act authorize the Commission to

investigate existing utility rates and practices upon complaint.

16 U.S.C. §§ 824e(a), 825e.1 Under section 206, the complaining party

bears the burden of establishing that the challenged utility practice is

unlawful. Id. § 824e(b); FirstEnergy Serv. Co. v. FERC, 758 F.3d 346,

353 (D.C. Cir. 2014). Where that burden is carried, leading the

Commission to find that the complained-of utility practice violates the

utility’s tariff, the Commission may direct the utility to cease the




      1 See also PJM Interconnection, L.L.C., 167 FERC ¶ 61,084, at

PP 70-76 (finding that the Market Monitor could initiate an
administrative complaint proceeding against PJM), reh’g denied,
168 FERC ¶ 61,141, at PP 10-15 (2019).


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violation and conform its practices to the tariff. See Entergy Servs., Inc.

v. FERC, 375 F.3d 1204, 1208 (D.C. Cir. 2004).

      B.   Regional Transmission Organizations

      Historically, electric utilities were vertically integrated

monopolies that owned electric generating facilities, transmission lines

and distribution systems, and sold all of these services as a “bundled”

package to their customers. New York v. FERC, 535 U.S. 1, 5 (2002).

Since then, however, jurisdictional public utilities have been required to

announce separate rates for their Commission-jurisdictional services

and offer nondiscriminatory open-access transmission service to

customers. See id. at 7-12, 14-17.

      To reduce the technical inefficiencies associated with different

utilities operating different parts of the grid, the Commission

encouraged utilities to establish “Regional Transmission Organizations”

or “Independent System Operators,” which today have operational

control over the transmission facilities owned by multiple utilities and

operate a variety of electric markets. See Morgan Stanley Cap. Grp.

Inc. v. Pub. Util. Dist. No. 1, 554 U.S. 527, 536-37 (2008). In other

words, a grid operator is “an independent company that has operational



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control, but not ownership, of the transmission facilities owned by

member utilities.” NRG Power Mktg., LLC v. Maine Pub. Utils.

Comm’n, 558 U.S. 165, 169 n.1 (2010).

      C.   PJM Interconnection and its Market Monitor

      PJM Interconnection, L.L.C. is an electric grid and market

operator that manages a system serving approximately fifty million

consumers in thirteen states and the District of Columbia. PJM Power

Providers Grp. v. FERC, 88 F.4th 250, 261 (3d Cir. 2023). PJM stands

for Pennsylvania, New Jersey, and Maryland—the first three states in

which it operated. See FERC Energy Primer: A Handbook for Energy

Market Basics at 83 (Dec. 2023), available at https://perma.cc/Q4ZZ-

7WR7. PJM is governed by a Board of Managers (the PJM Board), most

of whom are elected by PJM’s Members—a diverse group that includes

market participants, utilities, and customers. See id.; Complaint Order

P 2 & n.5, JA72.

      Pursuant to FERC requirements for market operators, PJM has a

market monitoring plan set forth in its Commission-jurisdictional tariff.

That plan, located at Attachment M to the PJM Open Access

Transmission Tariff (PJM Tariff or Tariff), calls for PJM to obtain the



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services of an independent market monitor. Complaint Order P 7

(describing market monitoring activities), JA75-76. PJM has chosen to

engage the Market Monitor—whose business name is Monitoring

Analytics, LLC—as an independent contractor who reports directly to

the PJM Board. See PJM Interconnection, L.L.C., 144 FERC ¶ 61,238,

at PP 1-3 (2013). Pursuant to its services agreement, the Market

Monitor “is an independent contractor and not an employee of PJM or

any of its subsidiaries or affiliates.” PJM Rate Schedule No. 46, Market

Monitoring Services Agreement (Services Agreement), section 13

(Independent Contractor) (2.0.0), Add. A-18.2

      D.   Stakeholder Access to the PJM Board

      As a regional transmission organization, PJM is expected to be

responsive to the views of electric customers and others with an interest

in PJM’s markets (often referred to as stakeholders). See Complaint


      2 PJM recently decided to extend the Market Monitor’s contract
for an additional six years. See PJM Transmittal Letter at 3, Docket
No. ER25-807-000 (filed Dec. 26, 2024) (proposing to extend term of the
agreement “to December 31, 2031”). Noting the lack of protests or
adverse comments, the Commission accepted that uncontested filing.
PJM Interconnection, L.L.C., Delegated Letter Order (issued Feb. 11,
2025) (FERC Docket No. ER25-807-000). Available at
https://elibrary.ferc.gov/eLibrary/docketsheet?docket_number=ER25-
807&sub_docket=All.


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Order PP 6, 81 (citing, in part, 18 C.F.R. § 35.28(g)(6)(i), Add. A-12),

JA74-75, 103. Thus, Commission policy requires that stakeholders

have access to the PJM Board to share their views, and further requires

that PJM’s decision-making consider and balance the interests of its

customers and stakeholders. Id. PP 6, 80, JA74, 102.

      To comply with these requirements, PJM has devised an entire

organizational apparatus for stakeholder engagement and feedback

regarding PJM decisions. This “stakeholder process” is, in effect, a

somewhat hierarchical structure of various stakeholder committees and

groups that meet to consider all manner of PJM ideas and proposals.

PJM illustrates the high-level structure of its stakeholder process as

indicated in the below diagram.




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PJM Manual 34 at 26 (Exhibit 1), Pet. Add. 56.3

      But, importantly, the Commission does not require that PJM open

up every possible meeting with the PJM Board to all interested

attendees. See Complaint Order PP 80-82, JA102-103. As the

Commission explained, its “Order No. 719 does not require PJM to

allow every stakeholder to attend any meeting between another group




      3 The opening brief’s addendum includes a more recent version of

this Manual, which is materially similar to the version cited by the
Commission, though with different pagination. The earlier Jan. 25,
2023 version is available at https://perma.cc/5XCF-UVBQ. This graphic
appears at Section 5.1, Overview and Standing Committees in both
versions.


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of stakeholders and the PJM Board.” Id. P 82, JA103.4 Stakeholders

must have the opportunity to communicate their views to the Board—

i.e., must have “access to” Board members—but Commission policy does

not require “that every party must be included in every meeting

between the Board and other parties.” Id. P 80, JA102.

      Pursuant to these policies, some groups may meet with the PJM

Board privately, which allows for clear lines of communication,

sometimes about confidential subjects. See id. PP 81-82, JA103. In

practice, there are at least three sets of closed meetings that certain

groups or entities individually have on a recurring basis with the PJM

Board. The Market Monitor itself has such meetings, id. P 86 & n.202,

JA106-07, relevant state public utility commissions have such meetings

through a membership organization, id. P 82, JA103, and PJM Members

have one as well, called the Liaison Committee, see id. PP 2 & n.5, 74,

77 (describing PJM’s membership and the Committee), JA72, 99, 101.




      4 See also PJM Interconnection, L.L.C., 133 FERC ¶ 61,071, at

P 41 (2010) (Order No. 719 Compliance Order) (finding that PJM’s
“governance procedures and stakeholder processes are sufficient to
ensure that the views of all customers and other stakeholders will be
made known to the PJM Board” pursuant to Commission policy).


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      The Liaison Committee “provide[s] an avenue for communication

between” representatives of PJM’s diverse membership “and the PJM

Board,” but the Liaison Committee “does not make decisions.” Id. PP 2,

79, JA72, 101. That is, no Member votes on market rule proposals are

taken at Liaison Committee meetings. Id. PP 79 & n.175, 85 & n.201,

JA101, 106. Rather, market rule proposal votes occur at a different set

of meetings, outside the Liaison Committee, that are open to the

Market Monitor. See id. PP 85 & n.201, 86 & n.204, JA106-107. The

Members Committee and its subsidiary groups are where Members

propose and debate market rule changes and ultimately cast votes on

important PJM issues. See Br. 2, 18, 25; Bowring Decl. P 9, Pet. Add. 5;

see also Diagram, supra p. 10.

      In contrast, the Liaison Committee “has no authority to vote on or

decide any matters, or to act as a substitute for the decision-making

processes of the Members Committee.” PJM Answer at 9-10, R. 77,

JA50-51. The Liaison Committee is simply intended to ensure

“exchanges and information sharing on topics of relevance to the

Members and the Board,” which happens to include “future market

monitoring contracts.” Complaint Order PP 2, 60, JA72, 96.



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II.   THE COMPLAINT ORDER ON REVIEW

      A.   The Market Monitor Complaint Proceeding

      On March 24, 2023, the Market Monitor filed a complaint at the

Commission against PJM. Complaint Order P 1, JA71. It claimed that

PJM was violating Attachment M to the PJM Tariff by not allowing the

Market Monitor to attend Liaison Committee meetings. Id. According

to the Market Monitor, certain provisions of the PJM Tariff allow it to

attend whatever stakeholder forum it finds “appropriate or necessary”

to its functions. See id. PP 18, 85, JA81, 105.5

      And because the terms of the PJM Tariff trump the charter (i.e.,

the organizing document or bylaws) of the Liaison Committee, the

Market Monitor contended that PJM violates its Tariff by allowing the

Liaison Committee to remain a Members-only invitation. See id. PP 63-



      5 Several weeks before the Market Monitor filed its Liaison

Committee complaint, the Public Service Commission of West Virginia
(West Virginia Commission) also filed a complaint seeking to be allowed
to attend Liaison Committee meetings. Complaint Order P 1 (referring
to Commission Docket No. EL23-45-000), JA71. Though sharing the
same objective, the West Virginia Commission’s claims relied on other
Commission policies and standards, not the PJM Tariff provision at
issue here that is specific to market monitoring activities. See id. The
West Virginia Commission did not seek rehearing or judicial review of
the Complaint Order and is not a party to this appeal.


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64, 85, JA97, 105.

      In short, the Market Monitor wanted to invite itself to other

groups’ closed meetings, despite not satisfying the stated criteria for

participation in those meetings. PJM opposed the complaint, arguing

that the Market Monitor’s interests are limited to the monitoring

services it provides, and that, in any event, the Market Monitor meets

regularly with Board members regarding competitive market issues.

See PJM Answer to Complaint at 2-4, 10-11, R. 77, JA43-45, 51-52.

PJM further asserted that “the Liaison Committee is simply a

communication vehicle and not a forum with voting rights to advance

potential changes to any Governing Documents” such as the PJM

Operating Agreement. Id. at 1, 4, JA42, 45; see also Bowring Decl.

PP 9-10 (discussing stakeholder voting), Pet. Add. 5.

      B.   The Commission Denies Relief

      The Commission declined to order relief. Complaint Order PP 85-

86, JA105-107. It found that the Liaison Committee did not come within

the scope of the cited Tariff provision. Id. P 85, JA105-106. Although

under the Tariff, the Market Monitor may “participate (consistent with

the rules applicable to all PJM stakeholders) in stakeholder working



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groups, committees or other PJM stakeholder processes,” the

Commission found that this provision speaks to stakeholder processes

that the PJM Board uses to make decisions. Id. That is, this Tariff

provision enables Market Monitor attendance when there are decision-

oriented meetings on “proposed revisions to tariff provisions, governing

documents, processes, or market design and operations.” Id., JA106.

      The Liaison Committee, however, is not an element of the PJM

Board’s decision-making process. See id. Rather, the Commission

found that the stated purpose of the Liaison Committee is “to facilitate

communication” and to help “Members understand the PJM Board

decision making process.” Id. (emphasis in original). And the

Commission found that the Market Monitor provided no evidence that

“the Liaison Committee is actually being used as part of a decision-

making process.” Id. (emphasis in original).

      Furthermore, the Commission noted that the Market Monitor has

“ample opportunities” of its own “to meet with the PJM Board, both

directly and indirectly.” Id. P 86, JA106. Given all this, the

Commission found that the Market Monitor did not satisfy its burden to

prove that the Liaison Committee is a stakeholder working group,



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committee or other PJM stakeholder process as contemplated by the

Tariff such that the complaint should be granted. Id. PP 85, 86, JA105,

107. One Commissioner dissented, emphasizing the special nature of

the Market Monitor and its important responsibilities. See id. PP 13-14

(Christie, dissenting), JA115-116.

      The Market Monitor sought agency rehearing, renewing its Tariff-

based arguments. Reh’g Request at 1-4 (filed Mar. 29, 2024), R. 91,

JA118-121. The Commission issued a notice of denial of rehearing by

operation of law, and this appeal followed.

                     SUMMARY OF ARGUMENT

      The Market Monitor believes that it has been wrongly excluded

from a certain set of meetings at PJM. It believes that a Tariff

provision grants plenary discretion to the Market Monitor to attend

whatever stakeholder meetings it believes are appropriate or necessary.

And so it argues that the Commission failed to give that provision full

effect regarding the meetings of PJM’s Liaison Committee.

      Even if true, these allegations do not amount to a cognizable

injury to the Market Monitor that supports Article III standing to

maintain this appeal. As the Commission explained, the Market



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Monitor has its own set of meetings with its employer, the PJM Board.

And the Market Monitor admits that it vigorously participates in the

meetings that comprise PJM’s stakeholder process—the scores of

meetings and forums that exist at PJM to vet decisions on all manner of

market-related issues. The Market Monitor offers nothing more than

abstract or generalized harm from not attending more meetings.

      If the Court proceeds to the merits, it would see that the

Commission reasonably applied the cited tariff provision to the facts

presented by the Market Monitor. The Commission found that the

Liaison Committee is not a part of the stakeholder process as it does not

make decisions. The Market Monitor did not allege or provide evidence

to the Commission that the Liaison Committee is in fact being used as a

decisional forum. On appeal here, the Market Monitor simply

reiterates its belief that the cited tariff provision was misapplied.

But the Market Monitor provides no basis, evidentiary or otherwise, to

conclude that the Commission misread the record or misunderstood the

tariff here.




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                              ARGUMENT

I.    THE MARKET MONITOR HAS FAILED TO ESTABLISH
      ARTICLE III STANDING

      This Court has repeatedly explained that to establish Article III

standing, a petitioner “must have suffered injury in fact,” which is “an

actual or imminent invasion of a legally protected, concrete and

particularized interest.” Ctr. for Law & Educ. v. Dep’t of Educ.,

396 F.3d 1152, 1157 (D.C. Cir. 2005) (citing Lujan v. Defenders of

Wildlife, 504 U.S. 555, 560-61 (1992)); see also Turlock Irr. Dist. v.

FERC, 786 F.3d 18, 23 (D.C. Cir. 2015) (same). Depending on the

circumstances, a FERC-jurisdictional utility (or its customers or

competitors) may be financially aggrieved by markets-related agency

action under the Federal Power Act, and therefore possess Article III

standing to seek judicial review. See, e.g., La. Energy & Power Auth. v.

FERC, 141 F.3d 364, 366-67 (D.C. Cir. 1998) (finding that competitor

and customer of utility had standing regarding rate dispute).

      The Market Monitor, however, is an unusual type of entity.

It neither charges nor pays rates subject to Commission jurisdiction;

instead, its role “is much in the nature of an auditor” at PJM and so its

legal interests are limited to its “contractually assigned tasks” such as


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“observing the market’s operations and then offering

recommendations.” Old Dominion, 892 F.3d at 1233. As this Court has

explained, “the Monitor has no independent legal interest of its own in

the PJM markets” and “is not a contractual party to . . . the Tariff.” Id.

      But, as the Market Monitor explains here, this case is not even

about access to PJM’s markets or their operation—it is about access to a

particular set of meetings the Market Monitor desires to attend. Br. 2.

The Market Monitor offers two main assertions in support of its

standing here: 1) that access to Liaison Committee meetings is critical

to carrying out the Market Monitor’s market design functions; and

2) that the Market Monitor must be able to hear and respond in real

time to other parties’ concerns about its performance. See Br. 4-6, 13,

15-18. Neither assertion is persuasive.

      A.   The Market Monitor’s Duties Are Not Meaningfully
           Impaired by FERC’s Action Here

      The Market Monitor first claims that its ability “to perform its

organizational mission” is imperiled by not being able to attend Liaison

Committee meetings. Br. 6-7. It acknowledges that under this Court’s

precedents, FERC’s interference with the Market Monitor’s interests

must be more than just a “setback” to “abstract” concerns—the


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interference must be a “drain on the organization’s resources” that

denies access to “key information that it relies on to educate the public.”

Br. 10-11 (quoting People for the Ethical Treatment of Animals v. Dep’t

of Agric., 797 F.3d 1087, 1093-94 (D.C. Cir. 2015)). 6

      But the Market Monitor has access to the PJM Board and to

market-related data. See Market Monitor Response to Motion to

Dismiss at 13 (admitting that these concerns are not at issue here),

ECF No. 2064654. It also has full access to PJM’s decision-making

process—indeed, the Market Monitor identifies no fewer than 17

committees, task forces, and other PJM forums in which it is an active

participant on market and market-design issues, totaling more than

100 meetings attended in 2024 alone. Bowring Decl. PP 18-19, Pet.




      6 The Market Monitor also equates the Tariff provision to

“a statutory right” of access to the meetings it would like to attend
(Br. 7), a comparison that is inapt. See Cal. ex rel. Lockyer v. Dynegy,
Inc., 375 F.3d 831, 839 (9th Cir. 2004) (equating filed tariffs with
agency regulations instead). But regardless of the source of the claimed
right, the Market Monitor must demonstrate how that right’s denial
inflicts concrete harm. See TransUnion LLC v. Ramirez, 594 U.S. 413,
426 (2021); see also Summers v. Earth Island Inst., 555 U.S. 488, 496-97
(2009) (finding alleged procedural deficiencies “insufficient to create
Article III standing” where plaintiff is unable to identify “some concrete
interest that is affected by the deprivation”).


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Add. 8. And the Market Monitor possesses many of its own tools for

obtaining further information and data (from PJM and from market

participants) when necessary. See PJM Tariff, Att. M, section V

(Information and Data) (5.0.0), Add. A-15 to A-17; see also Complaint

Order P 86 (describing the Market Monitor’s routine interaction with

stakeholders and the PJM Board), JA106-107.

      Despite all this, the Market Monitor asks for more information.

It argues that it must also attend Liaison Committee meetings because

those meetings “create the opportunity for [PJM] Members to advocate

proposed changes to the market design that may be inconsistent” with

the Market Monitor’s views. Bowring Decl. P 14, Pet. Add. 6-7. In

effect, the Market Monitor believes that any time market design issues

are up for discussion, on any PJM Board-sponsored meeting agenda,

failing to include the Market Monitor necessarily results in a significant

hindrance to the Market Monitor’s abilities. See id.; see also PJM

Answer to Complaint at 11 (“the Complaint essentially asks . . . [for]

permission to attend any PJM meeting, with no limiting principles”),

R. 77, JA52. This belief holds even where the Market Monitor




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disclaims an interest in raising any agenda items of its own at such

meetings. See Bowring Decl. P 11, Pet. Add. 6.

      Under this Court’s standing precedents, the challenged agency

conduct must have “perceptibly impaired” an organization’s “ability to

provide services” to amount to a cognizable injury in fact. Food & Water

Watch, Inc. v. Vilsack, 808 F.3d 905, 919 (D.C. Cir. 2015) (quoting

Turlock, 786 F.3d at 24). In other words, there must be a “direct

conflict between the defendant’s conduct and the organization’s

mission” that amounts to actual impairment of the organization’s

activities. Dep’t of Agriculture, 797 F.3d at 1095 (citations omitted);

see also Turlock, 786 F.3d at 24 (expending resources on litigation or

administrative proceedings “does not qualify as an injury in fact” on its

own). That impairment simply has not occurred here, even if, as the

Market Monitor (incorrectly) alleges, FERC inappropriately allowed

Liaison Committee meetings to remain closed. Generalized

“[f]rustration of an organization’s objectives is the type of abstract

concern that does not impart standing.” Ctr. for Law & Educ., 396 F.3d

at 1161-62 (citation omitted).




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      B.   The Market Monitor Has No Cognizable, Legally
           Protected Interest in Providing Real-Time Rebuttal
           Regarding Its Own Performance

      The Market Monitor also contends that FERC’s action “deprives

the Market Monitor of notice and opportunity to be heard concerning

complaints” to the PJM Board “about the Market Monitor’s

performance.” Br. 15. This is a problem, the Market Monitor claims,

because the PJM Board has the power to potentially terminate or

replace the Market Monitor for performance reasons. Id. 16.

      However, the Market Monitor admits that the review of its

performance by the PJM Board is governed by a separate contract—the

Services Agreement. See id. 16-17. As previously explained, the

Market Monitor has a direct line to the PJM Board, including to discuss

market issues and organizational performance. See Motion to Dismiss

Reply at 2 (citing Complaint Order PP 85-86, JA105-107 and Services

Agreement, section 28 (Communication and Cooperation) (0.0.0),

Add. A-19), ECF No. 2065647. By contract, market monitor

performance meetings include written notification and subsequent

discussion of any performance problems the PJM Board may identify.

Services Agreement, section 27 (Adequate Performance Under



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Attachment M) (2.0.0), Pet. Add. 183. But the Market Monitor’s claims

do not even pertain to this contractual performance review process—the

only issue it raises is that the stakeholder meeting provisions of a

separate document (the Tariff) have allegedly not been enforced.

See Br. 2, 3-4, 6; see also Reh’g Req. at 1-4 (same), JA118-121; Mot. to

Dismiss Resp. at 13 (same); Old Dominion, 892 F.3d at 1233 (explaining

that the Market “Monitor is not a contractual party to … the Tariff”).

      Thus, there is no allegation that the PJM Board has failed to

communicate with the Market Monitor about performance issues. And

there is no claim here that the Board intends to take action against the

Market Monitor due to Liaison Committee-related information. Rather,

all the Market Monitor alleges is that it has been a topic of discussion in

closed meetings. See Br. 18. At most, the Market Monitor claims it

should have been allowed to attend those meetings to hear what others

are saying, but it fails to identify any concrete harm that has resulted

from its non-attendance. See Summers, 555 U.S. at 496-97 (requiring

showing of harm stemming from alleged procedural violation).

      Indeed, without any “law that vests it with independent legal

rights,” nor demonstration of a “significant and direct interest” that has



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been invaded, Old Dominion, 892 F.3d at 1234, the Market Monitor

here has failed to identify cognizable injury to a legally protected

interest that provides it with Article III standing.7

II.   STANDARD OF REVIEW

      If the Court proceeds to the merits of this case, it should review

the Commission’s decisions here under the Administrative Procedure

Act’s narrow arbitrary and capricious standard. See 5 U.S.C.

§ 706(2)(A); FERC v. Elec. Power Supply Ass’n, 577 U.S. 260, 292

(2016). Under that standard, the question is not “whether a regulatory

decision is the best one possible or even whether it is better than the

alternatives.” Elec. Power Supply Ass’n, 577 U.S. at 292. Instead,

courts will “uphold FERC’s action so long as it examined relevant

considerations and articulated a reasoned explanation for” its action.

City of Lincoln v. FERC, 89 F.4th 926, 931 (D.C. Cir. 2024).




      7 To the extent the Market Monitor seeks to protect its interest in

potential renewal of its contract with PJM, any such concern is now
speculative or moot. PJM recently decided to extend the Market
Monitor’s contract for an additional six years to December 31, 2031,
with no substantive change to performance-related provisions. See PJM
Transmittal Letter at 2-3, 5, Docket No. ER25-807-000, supra note 2.


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      The Commission’s interpretation of jurisdictional tariffs and

contracts—like the PJM Tariff at issue here—is entitled to respect.

In this context, and “even before Chevron,” the Court has accorded

“great weight to the judgment of the expert agency that deals with”

industry-specific legal terms “on a daily basis.” Nat’l Fuel Gas Supply

Corp. v. FERC, 811 F.2d 1563, 1570-71 (D.C. Cir. 1987) (quoting, in

part, Kansas Cities v. FERC, 723 F.2d 82, 87 (D.C. Cir. 1983)); see also

Columbia Gas Transmission Corp. v. FPC, 530 F.2d 1056, 1059 (D.C.

Cir. 1976) (acknowledging “room . . . for some deference to [agency]

views even on matters of law like the meaning of contracts”).

      Also, the Commission’s factual findings are conclusive if supported

by substantial record evidence. See 16 U.S.C. § 825l(b). This means

that to the extent that record evidence could support several possible

conclusions, “it is the agency’s choice that governs.” La. Pub. Serv.

Comm’n v. FERC, 522 F.3d 378, 395 (D.C. Cir. 2008) (citation omitted).

The Court defers to the Commission’s reading of its own precedent as

well. City of Lincoln, 89 F.4th at 931.

      Taken together, this means that “so long as FERC’s decisions are

not arbitrary or capricious, or lacking in substantial evidence,” this



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Court does not “alter the Commission’s judgment.” Brady v. FERC,

416 F.3d 1, 10-11 (D.C. Cir. 2005).

III. ASSUMING JURISDICTION, THE COMMISSION
     REASONABLY DENIED THE MARKET MONITOR’S
     COMPLAINT

      A.   The Commission Reasonably Applied PJM’s
           Tariff to the Facts of the Liaison Committee

      1. Tariff Interpretation. In the Complaint Order, the Commission

interpreted the following provision of the PJM Tariff:

      The Market Monitoring Unit may, as it deems appropriate or
      necessary to perform its functions under this Plan, participate
      (consistent with the rules applicable to all PJM stakeholders)
      in stakeholder working groups, committees or other PJM
      stakeholder processes.

Complaint Order P 85 (quoting PJM Tariff, Attachment M, section

IV.G, Add. A-14), JA105. The Commission determined that this

provision grants the Market Monitor access to PJM’s stakeholder

committees and stakeholder processes. See id. This follows from the

repeated use of the word “stakeholder” and the structure of the sentence

as a whole. Id. n.196, JA105. And that is “the most natural reading of

[the] sentence” as well. Facebook, Inc. v. Duguid, 592 U.S. 395, 403

(2021). After all, “words grouped in a list should be given a related

meaning.” Atl. City Elec. Co. v. FERC, 295 F.3d 1, 12 (D.C. Cir. 2002)



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(explaining and applying the interpretive principle of “noscitur a sociis”

(citation omitted)).

      2. Tariff Application. However, the Commission found that the

Market Monitor had failed to establish that Liaison Committee

meetings are encompassed within that Tariff provision. Complaint

Order P 85, JA105. In the Commission’s reading, “stakeholder

processes” are “elements of a decision making process.” Id. Not every

possible meeting is an element of an identifiable decision-making

process, and so the Commission understandably asked whether the

Liaison Committee in particular serves a decisional function at PJM.

See id., JA105-106.

      The Commission reasonably determined that it did not. The

Liaison Committee, under its organizing document, “is not, on its face,

an element of the decision making process regarding proposed revisions

to tariff provisions, governing documents, processes, or market design

and operations.” Id. (citing Liaison Committee Charter at 1, JA126),

JA106; see also PJM Answer to Complaint at 8 (“The Liaison

Committee is not, and has never been, a stakeholder working group or

committee as contemplated in Tariff, Attachment M.”), JA49.



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      3. Evidentiary Burden. Furthermore, despite shouldering the

statutory burden of proving that PJM’s practices are unjust and

unreasonable, see Complaint Order P 85 & n.194 (citing 16 U.S.C.

§ 824e(b)), JA105, the Market Monitor “made no allegations in its

complaint that the Liaison Committee is involved in PJM decision

making.” Id., JA105-106. Nor did it “allege, let alone provide evidence,

that the Liaison Committee is actually being used as part of a decision-

making process.” Id. (emphasis in original), JA106. In fact, the

Market Monitor has “ample opportunities to meet with the PJM Board,

both directly and indirectly,” including regarding key PJM decisions of

concern. Id. P 86, JA106-107.

      In sum, the Commission found that the Market Monitor had not

satisfied its burden to show (1) specifically, that the Liaison Committee

is, within the understanding of the Tariff, a stakeholder committee, or

(2) generally, that PJM had acted unlawfully. Id. PP 85-86, JA105-107.

The Commission therefore denied the Market Monitor’s complaint. Id.

P 86, JA107.




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      B.   The Market Monitor’s Contrary Arguments Are
           Unavailing

      The Market Monitor appears to agree with the upshot of the

Commission’s tariff interpretation here—that the tariff provision is

“authorization for the Market [Monitor] to participate in all PJM

stakeholder processes.” Br. 20-21, 24; see also supra p. 27 (citing

Complaint Order P 85 & n.196, JA105). But the Market Monitor

contends that the concept of a “stakeholder process” is broader than the

Commission allowed, and that it includes any meetings used for “the

identification of issues and the review of issues” with stakeholders.

Br. 22 (emphasis added).

      In essence, what the Market Monitor challenges is the

Commission’s finding that the Liaison Committee is not part of PJM’s

stakeholder process because it does not make decisions. See Complaint

Order P 85, JA106; see also id. P 79 & nn.175, 178 (explaining the

Liaison Committee’s limitations), JA101-102. But this factual finding

was based on substantial evidence: it was based on Commission

precedent about PJM, and PJM’s own documents and statements,

which identify decision-making as the point of the stakeholder process.

See id. P 85 & nn.197, 198, 201 (collecting citations), JA105-106.


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The stakeholder process is “used to identify, review, and make decisions

regarding proposed revisions to PJM’s governing documents” and other

market concerns. Id. P 85 (emphasis added), JA105. The Liaison

Committee, in contrast, can “only write reports” and “does not have the

authority to vote on or to decide any matters or to act as a substitute for

the normal stakeholder process.” Id. n.201, JA106. It is more simply

used “to facilitate communication” and promote PJM Member

understanding. Id. P 85, JA106. Thus, the Commission sided with

PJM, further explaining that “[t]he Market Monitor does not allege any

facts which lead us to find otherwise.” Id.

      This case therefore presents the familiar circumstance where a

complainant under Federal Power Act section 206(b), 16 U.S.C.

§ 824e(b), failed to carry its evidentiary burden. See, e.g., New England

Power Generators Assoc. v. FERC, 879 F.3d 1192, 1200, 1202 (D.C. Cir.

2018) (denying petition for review); FirstEnergy Serv. Co. v. FERC,

758 F.3d 346, 353-56, 357 (D.C. Cir. 2014) (same); Potomac Elec. Power

Co. v. FERC, 210 F.3d 403, 405-06, 408-10, 411-12 (D.C. Cir. 2000)

(same, given that complainant failed to offer evidence beyond

speculation).



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                             CONCLUSION
      For the foregoing reasons, the petition for review should be

dismissed for lack of Article III standing. If the Court proceeds to the

merits of the petition, it should be denied.

                                         Respectfully submitted,

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                  CERTIFICATE OF COMPLIANCE

      Pursuant to Fed. R. App. P. 32(g) and Circuit Rule 32(e), I certify

that this brief complies with the type-volume limitation of Fed. R. App.

P. 32(a)(7)(B) because this brief contains 5,768 words, excluding the

parts of the brief exempted by Fed. R. App. P. 32(f) and Circuit Rule

32(e)(1).

      I further certify that this brief complies with the type-face

requirements of Fed. R. App. P. 32(a)(5) and the type-style

requirements of Fed. R. App. P. 32(a)(6) because this brief has been

prepared in Century Schoolbook 14-point font using Microsoft Word.


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                                                                        § 35.28                                                                  18 CFR Ch. I (4–1–23 Edition)

                                                                          (F) The Market Monitoring Unit and                       sion-approved independent system op-
                                                                        its employees may not accept anything                      erator or regional transmission organi-
                                                                        of value from a market participant in                      zation, or its representative, is per-
                                                                        excess of a de minimis amount.                             mitted to communicate the customer’s
                                                                          (G) The Market Monitoring Unit and                       or other stakeholder’s views to the
                                                                        its employees must advise a supervisor                     independent system operator’s or re-
                                                                        in the event they seek employment                          gional     transmission    organization’s
                                                                        with a market participant, and must                        board of directors;
                                                                        disqualify themselves from partici-                          (ii) Fairness in balancing diverse inter-
                                                                        pating in any matter that would have                       ests. The business practices and proce-
                                                                        an effect on the financial interest of
                                                                                                                                   dures must ensure that the interests of
                                                                        the market participant.
                                                                                                                                   customers or other stakeholders are
                                                                          (4) Electronic delivery of data. Each
                                                                        Commission-approved regional trans-                        equitably considered, and that delib-
                                                                        mission organization and independent                       eration and consideration of Commis-
                                                                        system operator must electronically                        sion-approved independent system op-
                                                                        deliver to the Commission, on an ongo-                     erator’s and regional transmission or-
                                                                        ing basis and in a form and manner                         ganization’s issues are not dominated
                                                                        consistent with its own collection of                      by any single stakeholder category;
                                                                        data and in a form and manner accept-                        (iii) Representation of minority posi-
                                                                        able to the Commission, data related to                    tions. The business practices and proce-
                                                                        the markets that the regional trans-                       dures must ensure that, in instances
                                                                        mission organization or independent                        where stakeholders are not in total
                                                                        system operator administers.                               agreement on a particular issue, mi-
                                                                          (5) Offer and bid data. (i) Unless a                     nority positions are communicated to
                                                                        Commission-approved independent sys-                       the Commission-approved independent
                                                                        tem operator or regional transmission                      system operator’s and regional trans-
                                                                        organization obtains Commission ap-                        mission organization’s board of direc-
                                                                        proval for a different period, each Com-                   tors at the same time as majority posi-
                                                                        mission-approved independent system                        tions; and
                                                                        operator and regional transmission or-                       (iv) Ongoing responsiveness. The busi-
                                                                        ganization must release its offer and
                                                                                                                                   ness practices and procedures must
                                                                        bid data within three months.
                                                                                                                                   provide for stakeholder input into the
                                                                          (ii) A Commission-approved inde-
                                                                        pendent system operator or regional                        Commission-approved independent sys-
                                                                        transmission organization must mask                        tem operator’s or regional trans-
                                                                        the identity of market participants                        mission organization’s decisions as
                                                                        when releasing offer and bid data. The                     well as mechanisms to provide feed-
                                                                        Commission-approved independent sys-                       back to stakeholders to ensure that in-
                                                                        tem operators and regional trans-                          formation exchange and communica-
                                                                        mission organization may propose a                         tion continue over time.
                                                                        time period for eventual unmasking.                          (7) Compliance filings. All Commis-
                                                                          (6) Responsiveness of Commission-ap-                     sion-approved independent system op-
                                                                        proved independent system operators and                    erators and regional transmission orga-
                                                                        regional transmission organizations. Each                  nizations must make a compliance fil-
                                                                        Commission-approved independent sys-                       ing with the Commission as described
                                                                        tem operator or regional transmission                      in Order No. 719 under the following
                                                                        organization must adopt business prac-                     schedule:
                                                                        tices and procedures that achieve Com-                       (i) The compliance filing addressing
                                                                        mission-approved independent system                        the accepting of bids from demand re-
                                                                        operator and regional transmission or-                     sponse resources in markets for ancil-
                                                                        ganization board of directors’ respon-                     lary services on a basis comparable to
                                                                        siveness to customers and other stake-                     other resources, removal of deviation
                                                                        holders and satisfy the following cri-
                                                                                                                                   charges, aggregation of retail cus-
                                                                        teria:
                                                                                                                                   tomers, shortage pricing during periods
                                                                          (i) Inclusiveness. The business prac-
                                                                                                                                   of operating reserve shortage, long-
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                                                                        tices and procedures must ensure that
                                                                        any customer or other stakeholder af-                      term power contracting in organized
                                                                        fected by the operation of the Commis-                     markets, Market Monitoring Units,

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PJM Interconnection, L.L.C.,Intra-PJM Tariffs
Filing Category:            Normal                            Filing Date:               05/04/2018
FERC Docket:                ER18-01528-000                    FERC Action:               Accept
FERC Order:                 Delegated Letter Order                              Order Date:
          06/25/2018
Effective Date:             07/03/2018                                Status:                    Effective
ATTACHMENT M, OATT ATTACHMENT M (5.0.0)

                                        ATTACHMENT M
                                  PJM MARKET MONITORING PLAN

References to section numbers in this Attachment M refer to sections of this Attachment M, unless
otherwise specified.

...

III.     MARKET MONITORING UNIT

       A.     Establishment: PJM shall establish or retain a Market Monitoring Unit to
perform the functions set forth in this Plan.

       B.       Composition: The Market Monitoring Unit shall be comprised of personnel
having the experience and qualifications necessary to implement this Plan. In carrying out its
responsibilities, the Market Monitoring Unit may retain such consultants, attorneys and experts as
it deems necessary.

        C.       Independence: The Market Monitoring Unit shall be independent from, and not
subject to, the direction or supervision of any person or entity, with the exception of the PJM Board
as specified in section III.D above, and the Commission. No person or entity shall have the right
to preview, screen, alter, delete, or otherwise exercise editorial control over or delay Market
Monitoring Unit actions or investigations or the findings, conclusions, and recommendations
developed by the Market Monitoring Unit that fall within the scope of market monitoring
responsibilities contained in this Plan. Nothing in this section shall be interpreted to exempt the
Market Monitoring Unit from any applicable provision of state or federal law.

         D.       Role of PJM Board:

                  1.       The PJM Board shall have the authority and responsibility:

                           a.     To review the budget of the Market Monitoring Unit, consistent with
                           the budget processes and requirements set forth in section III.E below.

                           b.     To propose to terminate, retain by contract renewal or replace the
                           Market Monitoring Unit, consistent with the requirements of section III.F
                           below.




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               2.       The PJM Board and the Market Monitor shall meet and confer from time to
time on matters relevant to the discharge of the PJM Board’s and the Market Monitoring Unit’s
duties under this Plan.

              3.      Other than the matters set forth in sections III.D.1 and D.2 above, the PJM
Board shall have no responsibility for, or authority over, the Market Monitoring Unit.

...

      I.     PJM Liaison: PJM may appoint an employee to act as liaison with the Market
Monitoring Unit. The function of the liaison will be to facilitate communications between PJM
employees and the Market Monitoring Unit, as defined in section V.E below.

IV.    MARKET MONITORING UNIT FUNCTIONS AND RESPONSIBILITIES

      A.      General:     The Market Monitoring Unit shall objectively monitor the
competitiveness of PJM Markets, investigate violations of FERC or PJM Market Rules,
recommend changes to PJM Market Rules, prepare reports for the Authorized Government
Agencies and take such other actions as are specified in this Plan.

       B.     Monitored Activities:     The Market Monitoring Unit shall be responsible for
monitoring the following:

              1.      Compliance with the PJM Market Rules.

              2.      Actual or potential design flaws in the PJM Market Rules.

              3.      Structural problems in the PJM Markets that may inhibit a robust and
competitive market.

              4.    The potential for a Market Participant to exercise market power or violate
any of the PJM or FERC Market Rules or the actual exercise of market power or violation of the
PJM or FERC Market Rules.

               5.      PJM’s implementation of the PJM Market Rules or operation of the PJM
Markets, as further set forth in section IV.C below.

              6.      Such matters as are necessary to prepare the reports set forth in Section VI.

...

       G.      Participation in Stakeholder Processes: The Market Monitoring Unit may, as it
deems appropriate or necessary to perform its functions under this Plan, participate (consistent
with the rules applicable to all PJM stakeholders) in stakeholder working groups, committees or
other PJM stakeholder processes.



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        H.       Reports of Wrongdoing to State Commissions: If during the ordinary course of
its activities the Market Monitoring Unit discovers evidence of wrongdoing (other than minor
misconduct) that the Market Monitor reasonably believes to be within a State Commission's
jurisdiction, the Market Monitoring Unit shall report such information to the State Commission(s).

...

       J.      Additional Market Monitoring Unit Authority: In addition to notifications and
Referrals under sections IV.I.1 and IV.I.2 above, respectively, the Market Monitoring Unit shall
have the additional authority described in this section, as follows:

                1.      Engage in discussions regarding issues relating to the PJM Market Rules or
FERC Market Rules, in order to understand such issues and to attempt to resolve informally such
issues or other issues.

                2.     Excepting matters governed by section IV.I above, file reports and make
appropriate regulatory filings with Authorized Government Agencies to address design flaws,
structural problems, compliance, market power, or other issues, and seek such appropriate action
or make such recommendations as the Market Monitoring Unit shall deem appropriate. The Market
Monitoring Unit shall make such filings or reports publicly available and provide simultaneous
notice of the existence of reports to the PJM members and PJM, subject to protection of
confidential information.

                3.     Consult with Authorized Government Agencies concerning the need for
specific investigations or monitoring activities.

                4.      Consider and evaluate a broad range of additional enforcement mechanisms
that may be necessary to assure compliance with the PJM Market Rules. As part of this evaluation
process, the Market Monitoring Unit shall consult with Authorized Government Agencies and
other interested parties.

               5.      Report directly to the Commission staff on any matter.

...

V.     INFORMATION AND DATA

       A.      Primary Information Sources: The Market Monitoring Unit shall rely primarily
upon data and information that are customarily gathered in the normal course of business of PJM
and such publicly available data and information that may be helpful to accomplish the objectives
of the Plan, including, but not limited to, (1) information gathered or generated by PJM in
connection with its scheduling and dispatch functions, its operation of the transmission grid in the
PJM Region or its determination of Locational Marginal Prices, (2) information required to be
provided to PJM in accordance with the PJM Market Rules and (3) any other information that is
generated by, provided to, or in the possession of PJM. The foregoing information shall be



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provided to the Market Monitoring Unit as soon as practicable, including, but not limited to, real-
time access to scheduling, dispatch and other operational data.

        B.      Other Information Requests: If other information is required from a Market
Participant, the Market Monitoring Unit shall comply with the following procedures:

               1.     Request for Additional Data: If the Market Monitoring Unit determines
that additional information is required to accomplish the objectives of the Plan, the Market
Monitoring Unit may make reasonable requests of the entities possessing such information to
provide the information. Any such request for additional information will be accompanied by an
explanation of the need for the information and the Market Monitoring Unit’s inability to acquire
the information from alternate sources.

               2.     Failure to Comply with Request: The information request recipient shall
provide the Market Monitoring Unit with all information that is reasonably requested. If an
information request recipient does not provide requested information within a reasonable time, the
Market Monitoring Unit may initiate such regulatory or judicial proceedings to compel the
production of such information as may be available and deemed appropriate by the Market
Monitoring Unit, including petitioning the Commission for an order that the information is
necessary and directing its production. An information request recipient shall have the right to
respond to any such petitions and participate in the proceedings thereon.

                3.     Information Concerning Possible Undue Preference: Notwithstanding
subsection V.B.1 above, if the Market Monitoring Unit requests information relating to possible
undue preference between Transmission Owners and their affiliates, Transmission Owners and
their affiliates must provide requested information to the Market Monitoring Unit within a
reasonable time, as specified by the Market Monitoring Unit; provided, however, that an
information request recipient may petition the Commission for an order limiting all or part of the
information request, in which event the Commission’s order on the petition shall determine the
extent of the information request recipient’s obligation to comply with the disputed portion of the
information request.

                4.      Confidentiality: Except as provided in section IV.K.3, above, of this
Plan, the Market Monitoring Unit shall observe the confidentiality provisions of the PJM
Operating Agreement and Tariff, Attachment M - Appendix with respect to information provided
under this section if an entity providing the information designates it as confidential.

       C.      Complaints: Any Market Participant or other interested entity may at any time
submit information to the Market Monitoring Unit concerning any matter relevant to the Market
Monitoring Unit’s responsibilities under the Plan, or may request the Market Monitoring Unit to
make inquiry or take any action contemplated by the Plan. Such submissions or requests may be
made on a confidential basis. The Market Monitoring Unit may request further information from
such Market Participant or other entity and make such inquiry as the Market Monitoring Unit
considers appropriate. The Market Monitoring Unit shall not be required to act with respect to
any specific complaint unless the Market Monitoring Unit determines action to be warranted.



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        D.     Collection and Availability of Information: The Market Monitoring Unit shall
regularly collect and maintain under its sole control the information that it deems necessary for
implementing the Plan. A Market Participant shall have sole responsibility to make available to
the Market Monitoring Unit any information that the Market Monitoring Unit deems reasonably
necessary to document, verify or investigate a claim or request by such Market Participant. All
load reduction data are subject to audit by the Market Monitoring Unit. The Market Monitoring
Unit shall make publicly available a detailed description of the categories of data collected by the
Market Monitoring Unit. To the extent it deems appropriate and upon specific request, the Market
Monitoring Unit may release other data to the public, consistent with the obligations of the Market
Monitoring Unit and PJM to protect confidential, proprietary, or commercially sensitive
information as provided in Tariff, Attachment M - Appendix and the PJM Operating Agreement.

        E.     Access to Personnel and Facilities: The Market Monitoring Unit shall have
access to PJM personnel and facilities as necessary to perform the functions set forth in this Plan.
If the Market Monitoring Unit seeks data or other information from PJM personnel, it may contact
the appropriate personnel that may be in possession of such data or information. If the Market
Monitoring Unit seeks a formal opinion or position on a matter from PJM, it shall contact the PJM
Liaison or appropriate senior management official to provide such opinion or position.

         F.     Market Monitoring Indices: The Market Monitoring Unit shall develop, and
shall refine on the basis of experience, indices or other standards to evaluate the information that
it collects and maintains. Prior to using any such index or standard, the Market Monitoring Unit
shall provide PJM members, Authorized Government Agencies, and other interested parties an
opportunity to comment on the appropriateness of such index or standard. Following such
opportunity for comments, the decision to use any index or standard shall be solely that of the
Market Monitoring Unit.

        G.      Evaluation of Information: The Market Monitoring Unit shall evaluate, and
shall refine on the basis of experience, the information it collects and maintains, or that it receives
from other sources, regarding the operation of the PJM Markets or other matters relevant to the
Plan. As so evaluated, such information shall provide the basis for reports or other actions of the
Market Monitoring Unit under this Plan.

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PJM Interconnection, L.L.C.,Rate Schedules
Filing Category:            Normal                          Filing Date:                 09/07/2018
FERC Docket:                ER18-02402-000                  FERC Action:                 Accept
FERC Order:                 Delegated Letter Order                              Order Date:
          11/05/2018
Effective Date:             01/01/2020                                Status:                    Effective
MMSA-46 Sec 13, MMSA-46 Sec 13 - Independent Contractor (2.0.0)

13.     Independent Contractor.

        Nothing herein shall be construed to create an employer-employee relationship between
PJM and IMM or any of IMM’s employees. IMM is an independent contractor and not an
employee of PJM or any of its subsidiaries or affiliates. The consideration set forth in section 5
of this Agreement shall be the sole consideration due to IMM for the Services rendered
hereunder. IMM and IMM’s employees will not represent to be or hold themselves out as
employees of PJM. No workers’ compensation insurance shall be obtained by PJM covering
IMM or IMM’s employees.




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PJM Interconnection, L.L.C.,Rate Schedules
Filing Category:            Normal                       Filing Date:                  07/29/2013
FERC Docket:                ER13-02052-000               FERC Action:                  Accept
FERC Order:                 144 FERC ¶ 61,238 (2013)                          Order Date:
          09/27/2013
Effective Date:             09/27/2013                              Status:                    Effective
MMSA-46 Sec 28, MMSA-46 Sec 28 - Communication and Cooperation (0.0.0)

28.     Communication and Cooperation.

       In order to facilitate communication and to help ensure that the PJM Board is aware of
IMM concerns and that the IMM is aware of PJM Board concerns, the PJM Board, or a
subcommittee thereof, and the IMM will meet at each PJM Board meeting during the year and at
additional times if requested by the PJM Board. PJM Board members may call the Market
Monitor at any time with questions about the positions of the IMM or any other matter of
concern to the PJM Board.

       The PJM Board, or a subcommittee thereof, and IMM shall meet periodically, not less
than annually, to review whether any changes to the Agreement are necessary or desirable.

        In order to continue cooperative interaction between PJM and IMM, the Parties have
jointly drafted a document setting out the Parties’ intent, “Protocol for Improved Interaction,”
which has been posted on the PJM and IMM websites. The Parties are committed to continuing
to communicate effectively.




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                      CERTIFICATE OF SERVICE

      I hereby certify that, on April 25, 2025, a copy of the foregoing was

filed electronically. Notice of this filing will be sent to all parties by

operation of the Court’s electronic filing system. Parties may access

this filing through the Court’s system.

                                    /s/ Jason T. Perkins
                                    Jason T. Perkins
                                    Attorney
